Case 1:20-cv-00451-SKC Document 41-3 Filed 02/15/21 USDC Colorado Page 1 of 25




                             D. STATEMENT OF CLAIMS

                                      INTRODUCTION

 1.      COMES NOW, Tiffany Grays, (“Plaintiff” or “she” or “her”) makes claims against

 Defendants: Blackhawk Acquisition, LLC; d/b/a ProMax LLC.; d/b/a Dealer Marketing

 Services collectively (“ProMax”) and Shane Born (collectively, “Defendants”); in accordance

 with the Fair Credit Reporting Act, 15 U.S.C. Sections 1681 et seq. (“FCRA”); the Duties of

 Furnishers of Information to Consumer Reporting Agencies Ru1e, 16 C.F.R. C 660, section 623

 of the FCRA, 15 U.S.C. § 1681s-2, recodified as Duties of Furnishers of Information, 12 C.F.R.

 § 1022, subpart E; Obligations of Resellers under FCRA; and multiple Colorado Statute

 Violations. Plaintiff brings this action as a result of Defendants’ inter alia, intentional failure to

 act when notified of errors on Plaintiff’s consumer credit report. But for ProMax’s services and

 applications, Plaintiff would never have received the harm inflicted. As a CRA, Furnisher, and

 Reseller of consumer credit reports, ProMax holds multiple duties to correct said errs caused by

 ProMax services and applications. ProMax’s actions have caused multiple injuries to the

 Plaintiff; including inter alia, consumer credit score damage, mental and emotional distress,

 physical injuries, and financial losses. Thus, scienter exists. Pursuant to Fed. R. Civ. P. 9,

 Plaintiff submits this heightened amended pleading which relates back to the first complaints.




                                               FACTS
 2.      Plaintiff re-alleges the preceding paragraphs set forth above and incorporate them herein

 by reference, inter alia.




                                                    1
Case 1:20-cv-00451-SKC Document 41-3 Filed 02/15/21 USDC Colorado Page 2 of 25




 3.     Plaintiff is an individual, consumer, over the age of 18, who resides in Colorado and

 conducted all business transactions with Defendants in Colorado. Plaintiff is a consumer who

 engaged in a consumer credit transaction with a client of ProMax, in Colorado, on or about

 March 17, 2018. Despite ProMax’s services being used to perpetrate the violations against

 Plaintiff’s consumer credit report and the Plaintiff, ProMax has ignored requests to resolve.

 4.     Defendant Blackhawk Acquisition, LLC.; d/b/a ProMaxAll; d/b/a ProMaxUnlimited;

 d/b/a ProMax; d/b/a Dealer Marketing Services Inc., collectively (“ProMax”), a Foreign Limited

 Liability Company, with a principal office located at 221 W. 6th Street, Suite 1030, Austin, TX

 78701. Defendant ProMax is registered to conduct business in the State of Colorado and at all

 times must comply with State and Federal laws. As a self-admitted “reseller of all three major

 bureaus for the past 20 years,” Defendant ProMax held sufficient knowledge and information

 which supports comprehension and definition of the term soft inquiry and pre-qualification.

 Without expressed consent to do so, Defendant ProMax willfully and recklessly permitted hard

 inquires against the Plaintiff’s consumer credit report and upon notification of said unlawful hard

 inquiries, has failed to act. ProMax heedlessly and recklessly posted and/or allowed fraudulent

 misrepresentations to be posted upon the website of third parties, which ProMax administers and

 controls. ProMax is not only considered consumer reporting agencies, but also considered

 furnishers and resellers of consumer reports and information, as ProMax actually performed the

 unlawful hard credit inquiry on behalf of third parties, including used car dealerships. ProMax

 failed to act when notified of the unlawful inquiries upon the Plaintiff’s consumer reports with

 multiple consumer reporting agencies, thus through inaction have become complicit in infliction

 of injuries upon the Plaintiff. Services purchased by third parties and subsequently provided by

 ProMax includes, procuring lending for applicants, maintaining, and administering websites for




                                                  2
Case 1:20-cv-00451-SKC Document 41-3 Filed 02/15/21 USDC Colorado Page 3 of 25




 used car dealerships. In accordance with C.R.S. § 4-5-117. Subrogation of issuer, applicant, and

 nominated person; ProMax is equally liable as the nominated person, to this Plaintiff.

 5.      Defendant Shane Born is the Chief Operating Officer of ProMax. Mr. Born has been

 aware of Plaintiff’s claims and has refused to direct his employees to take appropriate action

 directed under state and federal statutes; to correct the unlawful inquires upon the Plaintiff’s

 consumer credit report. As the Chief Operating Officer, Mr. Born is ultimately responsible for

 ensuing compliance at ProMax and is being named in his professional and individual capacities.

 6.      The Plaintiff set out 2018 with a goal of purchasing a home within the year. The Plaintiff

 enrolled in an expensive credit repair program, to assist in accomplishing this goal. The Plaintiff

 made a concerted effort to ensure any checks run against her credit were not going to damage it,

 as the 2018 goal was to purchase the home.

 7.      Defendants’ conduct causing Plaintiff’s credit score to drop, a loss of creditworthiness,

 has prevented the Plaintiff from accomplishing her goals.

 8.      In March of 2018 Plaintiff considered purchasing a used vehicle from the first used car

 dealership by completing a pre-qualification application on the first used car dealership’s

 website. In March of 2018 Plaintiff considered purchasing a vehicle from the second used car

 dealership, Auto Mart USA LLC (“Auto Mart”). Discovered through discovery in related District

 of Colorado case 18-CV-01761-MSK-NYW, Auto Mart also used the services of ProMax to

 violate the Plaintiff.

 9.      The application on the first used car dealership’s website stated it was performing a “soft

 inquiry” through the “pre-qualified” application to determine Plaintiff’s creditworthiness through

 approval of loan for a vehicle for personal use. Similarly, the employees at Auto Mart



                                                   3
Case 1:20-cv-00451-SKC Document 41-3 Filed 02/15/21 USDC Colorado Page 4 of 25




 fraudulently misrepresented to the Plaintiff Auto Mart was conducting a soft inquiry against

 Plaintiff’s consumer credit report to determine Plaintiff’s creditworthiness through approval of

 loan application for a vehicle for personal use. Furthermore, the application at Auto Mart did not

 contain the personal identification information of the Plaintiff and therefore Auto Mart should

 not have been able to obtain Plaintiff’s consumer credit report.

 10.     Whereas consumer credit reports are concerned, a soft inquiry is consistent with the term

 pre-qualify, in that both do not harm or impact the consumer’s credit score or worthiness; most

 frequently performed by consumers who are unsure of their intent to purchase.

 11.     ProMax was responsible for the verbiage on the first used car dealership’s “pre-

 qualification” application including the representations that only a “soft inquiry” would be

 performed. ProMax is also responsible for conducting the hard inquiries performed by Auto

 Mart.

 12.     The first used car dealership’s website contained a credit application which was stated it

 would “pre-approve” through “pre-qualification” of the Plaintiff’s credit application for vehicle

 financing through a “soft inquiry.” The known and intended actions by Defendants were to

 perform a “hard inquiry” through an application meant to fully qualify applicants; which is what

 occurred with the Plaintiff. Plaintiff signed a consent form for Auto Mart to perform a soft

 inquiry only.

 13.     It was reasonably expected that Plaintiff would believe the promises on the first used

 car’s website and told to her by Auto Mart.




                                                  4
Case 1:20-cv-00451-SKC Document 41-3 Filed 02/15/21 USDC Colorado Page 5 of 25




 14.     After agreeing to the terms and conditions, Plaintiff electronically submitted her

 application through the first used car dealership’s website, which was controlled by Defendants,

 intending only to pre-qualify for vehicle financing through one soft inquiry.

 15.     Soft inquiries as it relates to consumer credit reports means the inquiry is not shown to

 others who make inquiries against the consumer credit report and the inquiry will not adversely

 affect the credit score.

 16.     Plaintiff declined to visit or purchase a vehicle from the first used car dealer which was

 the extent of the consumer credit transaction authorized.

 17.     Through receiving adverse action letters and her consumer credit reports, Plaintiff learned

 Defendants had performed/permitted six hard inquires from the first used car dealership, in lieu

 of the promised and agreed upon one soft inquiry, with the following lenders: (1) Flagship

 Credit Acceptance LLC; (2) Consumer Portfolio Services, Inc.; (3) Ally Bank (twice); (4) ENT

 Credit Union and (5) Wells Fargo Dealer Services (WFDS). Similarly, Plaintiff learned

 Defendants had performed/permitted Auto Mart to perform ten hard inquires in lieu of the

 promised and agreed upon one soft inquiry, with lenders: 1. Ally Bank; 2. Premier Members

 Credit Union; 3. Open Lending LLC (LendPro); 4. Flagship Credit Acceptance LLC; 5. Pikes

 Peak Credit Union; 6.Aventa Credit Union; 7. Mountain America Credit Union; 8. Regional

 Acceptance Corporation; 9. Prestige Financial Services; and 10. Arapahoe Credit Union.

 18.     Upon notification of the unauthorized hard inquiries, Defendants’ permitted and

 committed the destruction of evidence by changing content and language on the first used car

 dealer’s website and application, without maintaining a copy for evidence. Defendants have also

 failed to act, failed to correct or notify Consumer Reporting Agencies of the dispute.



                                                  5
Case 1:20-cv-00451-SKC Document 41-3 Filed 02/15/21 USDC Colorado Page 6 of 25




 19.    In March 2018, Experian was reporting the Plaintiffs’ credit score only 2 points higher

 than in April 2018. In May 2018, the Plaintiffs’ score takes a dramatic plunge as all the ‘hard’

 inquiries catch up to reporting. Currently, the Plaintiffs’ score has dropped significantly due to

 all the unauthorized hard inquires. Nothing else in the consumer credit report has changed to

 explain the difference in score. This is because of these unauthorized ‘hard’ inquires. As the

 unlawful 16 hard inquires fall off Plaintiff’s consumer credit report in March and April 2020,

 Plaintiff’s credit score improves proving the detriment suffered.

 20.    ProMax’s conduct alleged herein substantiates the likelihood of future harm, as ProMax

 is becoming utilized by many auto dealerships within Colorado and throughout America. It is no

 coincidence that two dealerships contacted on March 17, 2018 by the Plaintiff both used and

 continue to use ProMax. Plaintiff is a Colorado Native who will purchase another vehicle in the

 future, likely to encounter ProMax again. Defendant’s conduct alleged is performed after

 Defendants were aware of Plaintiff’s claims, yet Defendants intently remained inactive in

 removing the unpermitted hard inquires to correct Plaintiff’s credit; substantiating exemplary and

 punitive damages.




                                  CAUSES OF ACTION

 33.    Unless otherwise noted, each Claim is against all Defendants. Plaintiff re-alleges the

 preceding paragraphs set forth above and herein and incorporate them herein all Claims by

 reference inter alia:

                                     CLAIM THREE:
                            Violations of 15 § U.S.C. 1681 et seq
                            FAIR CREDIT REPORTING ACT


                                                  6
Case 1:20-cv-00451-SKC Document 41-3 Filed 02/15/21 USDC Colorado Page 7 of 25




                               i.   Consumer Reporting Agency

 34.    ProMax violates 15 U.S.C. § 1681r by providing the Plaintiff’s consumer information to

 third-party lenders, it did so when it did not possess the authorization, under the terms of “[s]oft

 inquiry,” and “Pre-qualified website;” according to the first used car dealership’s website

 housing the electronic application and the admitted advisements by Auto Mart.

 35.    ProMax “for monetary fees …, regularly engages in whole or in part in the practice of

 assembling [and/]or evaluating consumer credit information or other information on consumers

 for the purpose of furnishing consumer reports to third parties, and which uses any means or

 facility of interstate commerce for the purpose of preparing or furnishing consumer reports.” 15

 U.S.C. § 1681a(f).

 36.    By and through the preceding ProMax is a “consumer reporting agency” as so defined in

 15 U.S.C. § 1681a(f).

 37.    ProMax regularly assembles and maintains consumer reports for the purpose of

 furnishing the consumer reports to third parties bearing on a consumer’s credit worthiness, credit

 standing, or credit capacity, each of the following regarding consumers residing nationwide: (1)

 Public record information and (2) Credit account information from persons who furnish that

 information regularly and in the ordinary course of business. 15 U.S.C. § 1681a(p).

 38.    By and through the preceding ProMax is a “consumer reporting agency that compiles and

 maintains files on consumers on a nationwide basis,” as so defined in 15 U.S.C. § 1681a(p).

 Said aforementioned assembled and maintained consumer reports by ProMax also contain

 employment, residential and/or tenant histories.




                                                    7
Case 1:20-cv-00451-SKC Document 41-3 Filed 02/15/21 USDC Colorado Page 8 of 25




 39.      By and through the preceding ProMax is considered a “nationwide specialty consumer

 reporting agency.” 15 U.S.C. § 1681a(x).

 40.      The application for pre-qualification and the subsequent inquiries constitute a credit

 transaction.

 41.      ProMax’s webpage fails to satisfy requirements under § 1681c-1(i)(6).

 42.      ProMax failed to have reasonable procedures to avoid violations in accordance with §

 1681e(a).

 43.      ProMax is void of any method for the Plaintiff to request her information, in violation of

 § 1681g.

 44.      As ProMax is void of disclosure requirements under § 1681g, ProMax has also violated §

 1681h.

 45.      ProMax furnished a report to the first used car dealer and Auto Mart not initiated by the

 consumer Plaintiff in violation of 15 U.S.C. § 1681b(c)(1)(A).

 46.      The aforementioned reports not initiated by the consumer Plaintiff contained information

 outside the limitations in violation of 15 U.S.C. § 1681b(c)(2)-(3).

 47.      ProMax is void of a Notification system in violation of 15 U.S.C. § 1681b(5)-(6).

 48.      ProMax was void of authorization to access the Plaintiff’s consumer credit report through

 hard inquiries, therefore ProMax is in violation of § 1681b(f)(1)(2).

 49.      Upon notification of dispute, ProMax has failed to perform a reinvestigation or provide

 notice of dispute to Furnishers and credit reporting agencies, in violation of 15 U.S.C. § 168lc(f).

 50.      As a Consumer Reporting Agency ProMax failed to “establish and maintain guidelines

 for furnishers regarding the accuracy and integrity of information,” in violation of 15 U.S.C. §

 168li.




                                                   8
Case 1:20-cv-00451-SKC Document 41-3 Filed 02/15/21 USDC Colorado Page 9 of 25




 51.     ProMax negligently and/or willfully violated the FCRA in the following ways: 1) failing

 to conduct a reasonable investigation into Plaintiff’s disputes regarding the impossible

 mathematical calculations in violation of 15 U.S.C. § 1681s-2(b); 2) failing through multiple

 disputes, over the course of a calendar year and a half, also in violation of 15 U.S.C. § 1681i; 3)

 with malice and/or recklessness, falsely reporting and publishing wholly false and inaccurate

 information about the Plaintiff

 52.     Had ProMax performed an investigation, ProMax would have determined the information

 was inaccurate, incomplete and/or unverifiable, ProMax was to promptly delete the information,

 yet has failed to act, in violation of § 1681i(a)(6).

 53.     ProMax is void of an automated reinvestigation system in violation of § 1681i(a)(5)(D).

 54.     Plaintiff never received a description or results of reinvestigation procedure in violation

 of § 1681i(a)(6)-(7).

 55.     ProMax failed to ensure its clients provided consumers the name, address, and telephone

 number of the consumer reporting agency that furnished the report to the person,” in violation of

 § 1681m(a)(3).

 56.     ProMax regularly engaged in activity, at the time the Plaintiff filled out the online credit

 application, which would define ProMax as a Consumer Reporting Agency. The Defendants

 failed to meet the obligations of Consumer Reporting Agencies: ProMax is required to establish

 a streamlined process, per 15 U.S.C. § 1681j(a)(l)(C)(i) for consumers to request consumer

 reports, ProMax does not currently possess such process. 15 U.S.C. § 168ls-2(e)(1) requires the

 Defendants to establish and maintain guidelines for furnishers regarding the accuracy and

 integrity of information.

 57.     Had ProMax been in compliance, Plaintiff would likely not have suffered harm.



                                                    9
Case 1:20-cv-00451-SKC Document 41-3 Filed 02/15/21 USDC Colorado Page 10 of 25




  58.     ProMax as a nationwide specialty consumer reporting agency as defined in, 15 U.S.C. §

  1681a(x), ProMax failed to provide any online applicant a way in which to request a copy of the

  application or the file, is in violation of statute.

  59.     Under the FCRA, as a reseller, ProMax should be listed on the adverse action letter as the

  CRA., however ProMax was not listed as the CRA on Plaintiff’s adverse action letter in violation

  of § 1681m(a)(2)-(3).

  60.     As a pass-through CRA, the actual originating CRA must be listed. ProMax is a vendor

  who merges and purges the data, thereby a reseller and then becomes a CRA.

  61.     The hard inquiries have negatively impacted the Plaintiff’s credit score credit worthiness

  by significantly reducing her credit score and subsequently caused and/or contributed to denials

  of extensions of credit to the Plaintiff.

  62.     By and through the preceding paragraphs, Plaintiff seeks relief under 15 U.S.C. §§

  1681n-o.

  63.     Plaintiff has been damaged as alleged within this Complaint in an amount to be

  determined at trial.

  64.     Plaintiff is entitled to all statutory damages and costs.


                             ii.   Furnisher of Information to CRA’s

  65.     Furnishers of information to CRAs,' have additional requirements as stated in 15 U.S.C. §

  1681s-2(a)(2)(A), because the Defendants “[r]egularly and in the ordinary course of business

  furnishes information to one or more CRA’s about its "transactions or experiences" with

  consumers.” ProMax regularly reports information to other third party CRA’s, which are defined

  as CRA’s in 15 U.S.C. § 1681a(f).


                                                         10
Case 1:20-cv-00451-SKC Document 41-3 Filed 02/15/21 USDC Colorado Page 11 of 25




  66.    ProMax in the ordinary course of business furnished experience information about the

  Plaintiff to one or more CRA’s through hard inquiries, in violation of 15 U.S.C. §

  1681b(a)(3)(A) and 15 U.S.C. § 1681b(a)(3)(F)(i).


  67.    ProMax failed the Plaintiff through inaction, including failure to establish and implement

  reasonable written policies and procedures regarding the accuracy and integrity of the

  information relating to consumers which ProMax furnishes to other third party CRA’s. Ignoring

  the guidelines established in appendix E of 12 C.P.R.§ 1022.42.


  68.    The terms and conditions ProMax provided to the Plaintiff on the first used car

  dealership’s website that ProMax controlled, did not include authorization for the Defendants to

  run ‘hard’ inquiries against Plaintiff’s consumer report. Additionally, as the personal

  identification information of the Plaintiff did not match the information on the credit application

  submitted by Auto Mart, ProMax therefore violates 15 U.S.C. § 1681b(a)(2), as soon as they run

  ‘hard’ inquiries and not the stated “[s]oft inquiries.”

  69.    15 U.S.C. § 1681b(a)(3)(F), ProMax requested the Plaintiffs’ consumer report without

  permission, thus the request was absent legitimate business reason.

  70.    ProMax’s failure to provide any online applicant a way in which to request a copy of the

  application or the file, is in violation of statutes 15 U.S.C. § 1681s-2(a)(2)(A).

  71.    ProMax violates Section 623(a)(2) by failing to correct the incorrect inquires on the

  Plaintiffs’ consumer report, upon identification of the issue.

  72.    ProMax’ has therefore obtained the Plaintiff’s consumer information under false

  pretenses and should be fined and imprisoned under title 18, pursuant to 15 U.S.C. § 1681q.




                                                    11
Case 1:20-cv-00451-SKC Document 41-3 Filed 02/15/21 USDC Colorado Page 12 of 25




  73.     Pursuant to 12 CFR § 1022.43(e), as ProMax failed to provide the Plaintiff any notice of

  her claims against them as being considered a frivolous dispute, ProMax was to notify CRA’s

  and have the inquires removed.

  74. Upon notification of dispute, ProMax has failed to perform a reinvestigation or provide

  notice of dispute to Furnishers and credit reporting agencies.

  75.     Defendants failure to provide any online applicant a way in which to request a copy of

  the application or the file, is in violation of statutes 15 U.S.C. § 1681s-2(a)(2)(A).

  76.     Defendants failed to disclose at consummation of the transaction the required disclosures

  pursuant to 15 U.S. Code § 1681g.

  77.     By and through the acts and practices described in all paragraphs, ProMax has violated

  section 609(a)(I) of the FCRA, 15 U.S.C. § 168Ig(a)(I).


  78.     The hard inquiries have negatively impacted the Plaintiff’s credit score credit worthiness

  by significantly reducing her credit score and subsequently caused and/or contributed to denials

  of extensions of credit to the Plaintiff.

  79.     By and through the preceding paragraphs, Plaintiff seeks relief under 15 U.S.C. §§

  1681n-o.

  80.     Plaintiff has been damaged as alleged within this Complaint in an amount to be

  determined at trial.

  81.     Plaintiff is entitled to all statutory damages and costs.


                   iii.   Reseller of Consumer Credit Reports Violations
  82.     ProMax assembles and merges information contained in the database of another

  consumer reporting agency or multiple consumer reporting agencies concerning any consumer



                                                    12
Case 1:20-cv-00451-SKC Document 41-3 Filed 02/15/21 USDC Colorado Page 13 of 25




  for purposes of furnishing such information to any third party, to the extent of such activities;

  and (2) does not maintain a database of the assembled or merged information from which new

  consumer reports are produced, therefore ProMax is a “reseller” in accordance with 15 U.S.C. §

  1681a(u)(1)(2).

  83.     ProMax assembled this data for the purpose of furnishing that information to third party

  lenders and dealers.

  84.     ProMax did not possess the written instruction of the Plaintiff in violation of §

  1681b(a)(2).

  85.     ProMax does not disclose to consumer reporting agencies the identity of the end-user of

  the report nor the permissible purpose as it did not exist, in violation of § 1681e(e)(1).

  86.     ProMax failed to make certifications and reasonable verification efforts in accordance

  with § 1681e(e)(2)(A)(B).

  87.     Once notified of Plaintiff’s claims, ProMax failed to perform a reinvestigation in

  violation of § 1681i(f).

  88.     Plaintiff’s consumer credit report held a fraud alert, which ProMax failed to verify the

  identity of the Plaintiff, or contact the Plaintiff; in violation of section 605A(h),(f)

  89.     As resellers, ProMax violates Compliance Procedures, § 1681e, through failing to:

              A. establish reasonable procedures to ensure reports were re-sold under permissible

                  purposes.

              B. Ensure the accuracy of the report in violation of § 1681e(b);

              C. Establish reasonable procedures to ensure the report is resold for a purpose under

                  which the report may be furnished or resold, as when Plaintiff disputed the




                                                     13
Case 1:20-cv-00451-SKC Document 41-3 Filed 02/15/21 USDC Colorado Page 14 of 25




                 inquiries, she was advised there is nothing ProMax can or will do to resolve the

                 issue; in violation of § 1681e(e)(2).

  90.    As a reseller, ProMax should be listed on the adverse action notice as the CRA.

  Furthermore, as a pass-through CRA, the actual originating CRA must be listed. ProMax is a

  vendor who merges and purges the data, thereby a reseller and then becomes a CRA. ProMax is

  not listed on the adverse action notice.

  91.    The hard inquiries have negatively impacted the Plaintiff’s credit score credit worthiness

  by significantly reducing her credit score and causing or contributing to the denial of the

  extensions of credit.

  92.    By and through the preceding paragraphs, Plaintiff seeks relief under 15 U.S.C. §§

  1681n-o.

  93.    Plaintiff has been damaged as alleged within this Complaint in an amount to be

  determined at trial.

  94.    Plaintiff is entitled to all statutory damages and costs.

  95.    The sheer number of FCRA violations constitutes Defendants conduct as extreme and

  outrageous.


                                CLAIM SIX:
             FRAUDULENT MISREPRESENTATIONS IN ADVERTISING
                     iv. Violations of C.R.S. § 5-3-110

  96.    As the administrators for the first used car dealer’s website, ProMax is responsible for

  false advertisements it allows.




                                                   14
Case 1:20-cv-00451-SKC Document 41-3 Filed 02/15/21 USDC Colorado Page 15 of 25




  97.    ProMax has allowed and added advertisements on the first used car dealer’s website,

  which contain statements regarding credit transactions with used car dealer, which are in fact

  credit transactions with ProMax.

  98.    Defendants knew the soft inquiry and pre-qualification advisements were false and/or

  misleading.

  99.    Advertisements posted online by ProMax for the first used car dealer’s website do not

  contain appropriate disclosures.

  100.   Misrepresentations were material to the Plaintiff.

  101.   Plaintiff’s reliance was justified.

  102.   Plaintiff’s reliance upon said representations has caused Plaintiff’s actual damages

  including but not limited to, loss of employment, housing, creditworthiness, in addition to inter

  alia emotional distress, physical injuries, mental anguish including humiliation and fear; all

  direct and foreseeable consequences to Defendants’ representations, actions, and/or inactions.

  Defendants’ misrepresentations were done so intently, only to induce the Plaintiff into permitting

  a hard inquiry against her consumer credit report. Defendants’ actions resulting in the Plaintiffs’

  injuries as described herein and damaged in the amount to be proven at trial.



                                     CLAIM SEVEN:
                                  BREACH OF CONTRACT
  103.   The online “pre-qualification” application submitted by Plaintiff on or about March 17,

  2018, created a contract between ProMax and Plaintiff.

  A material part of the contract was the fact one soft inquiry was being performed.

  104.   As only “[s]oft inquiry[ies],” were authorized according to the Terms and Conditions, on

  the online “pre-qualification” credit application, the written contract between ProMax and the



                                                  15
Case 1:20-cv-00451-SKC Document 41-3 Filed 02/15/21 USDC Colorado Page 16 of 25




  Plaintiff, was void of Plaintiff’s authorization for the six inquires performed by the first used car

  dealer.

  105.      Plaintiff has performed all or substantially all, of the obligations imposed under the

  Terms and Conditions.

  106.      ProMax breached its pre-qualification application Agreement with the Plaintiff.
  107.      ProMax’s performance of six hard inquiries were neither set by nor assessed in

  accordance with the reasonable expectation of the parties; constituting breach.

  108.      Plaintiff’s reliance upon said representations has caused Plaintiff’s actual damages

  including but not limited to, loss of employment, housing, creditworthiness.

  109.      Plaintiff is entitled to damages proven through trial.

  110.      Plaintiff is entitled to her reasonable fees and costs.




                                        CLAIM EIGHT:
                                    OUTRAGEOUS CONDUCT

  111.      Defendants engaged in extreme and outrageous conduct of violating various Colorado

  and Federal laws, recklessly or with the intent of causing the Plaintiff severe emotional distress,

  as evidenced by Defendants’ refusal to correct their errs, even after the destruction of evidence

  proving Plaintiff’s claims.

  112.      By and through actions and inaction stated in all previous paragraphs and Claims,

  Defendants’ conduct is outrageous and performed with recklessly or knowingly to cause harm to

  Plaintiff.

  113.      By and through preceding paragraphs, Defendants were negligent.



                                                      16
Case 1:20-cv-00451-SKC Document 41-3 Filed 02/15/21 USDC Colorado Page 17 of 25




  114.     Defendants’ negligence in failing to abide by the terms and conditions of Plaintiff’s

  application, thereby creating an unreasonable risk of physical harm to the Plaintiff when having

  knowledge of the peril Plaintiff has suffered, knowledge of Plaintiff’s physical and mental health

  suffering; unnecessarily causing the Plaintiff fear, injuries, and losses to be proved at trial.

  115.     As a result of Defendants’ outrageous conduct, Plaintiff has suffered emotional distress

  incurred actual damages including but not limited to, loss of employment, housing,

  creditworthiness. Plaintiff has experienced inter alia emotional distress, physical injuries, mental

  anguish including humiliation and fear.

  116.     Plaintiff is entitled to damages proven through trial.




                                 CLAIM NINE:
         Violations of Consumer Credit Code, Colo. Rev. Stat. § 5-1-101, et seq.
                                    (“UCCC”);

  118.     By agreeing to perform a soft inquiry to pre-qualify the Plaintiff for a used car,

  Defendants and Plaintiff participated in a “Consumer Credit Sale” as defined in C.R.S. § 5-1-

  301(11)(a); thereby a “Consumer credit transaction” C.R.S. § 5-1-301(12).

  119.     The written agreement did not permit ProMax to allow the first used car dealership to

  submit Plaintiff’s information to six lenders nor perform the six hard inquires. The written

  agreement did not permit ProMax to allow Auto Mart to submit Plaintiff’s information to ten

  lenders nor perform the ten hard inquires.

  120.     The pre-qualification application Agreement and credit authorization provided to Plaintiff

  was deficient, ineffective, deceptive, conducted in bad-faith, unfair, unconscionable, and



                                                    17
Case 1:20-cv-00451-SKC Document 41-3 Filed 02/15/21 USDC Colorado Page 18 of 25




  misleading in that it does not state ProMax had authorization to perform any hard inquiries

  against the Plaintiff’s consumer credit report.

  121.   By and through conduct of ProMax described in all paragraphs, ProMax’s conduct can be

  construed as unconscionable, in violation of C.R.S. § 5-5-109 and C.R.S. § 5-3-210.

  122.   ProMax further violates the UCCC in by reporting incorrect information for years, and

  upon notification and multiple opportunities to resolve; failing to do so.

  123.   The reliance upon said representations has caused Plaintiff’s actual damages including

  but not limited to, loss of employment, housing, creditworthiness, in addition to inter alia

  emotional distress, physical injuries, mental anguish including humiliation and fear.

  124.   Plaintiff is entitled to damages proven through trial.
  125.   Plaintiff is entitled to her reasonable fees and costs.

                               CLAIM TEN:
  Violations of the Colorado Uniform Commercial Code, Colo. Rev. Stat. § 4-1-
                              301, et seq. (“UCC”)


  126.   Colorado recognizes an obligation to conducting all commerce in good-faith, “Every

  contract or duty within this title imposes an obligation of good faith in its performance and

  enforcement. C.R.S. § 4-1-304.

  127.   ProMax breached their duty to act in good-faith with the Plaintiff by:

             (a) failing to ensure advertisements regarding credit transactions with ProMax were

                 accurate;




                                                    18
Case 1:20-cv-00451-SKC Document 41-3 Filed 02/15/21 USDC Colorado Page 19 of 25




               (b) ProMax had a duty to perform one soft inquiry against the Plaintiff’s consumer

                  credit report and ProMax performed/permitted six hard inquiries against the

                  Plaintiff’s consumer credit report.

               (c) ProMax had a duty to perform corrections and investigations as stipulated in

                  statute and failed to do so.

               (d) ProMax destroyed evidence upon notification of Plaintiff’s claims, depriving

                  Plaintiff of the right to inspect and test the website; failing to preserve evidence of

                  goods in dispute in accordance with C.R.S. § 4-2-515.

  128.    As a result of ProMax’s actions and inactions described herein, Plaintiff has incurred

  actual damages including but not limited to, loss of employment, housing, creditworthiness.

  Plaintiff has experienced inter alia emotional distress, physical injuries, mental anguish

  including humiliation and fear.




                                         CLAIM ELEVEN:
    Violations of the Colorado Consumer Protection Act, Colo. Rev. Stat. § 6-1-
                               101 et seq. (“CCPA”)


  129.    Defendants conduct alleged in this Complaint and relating to Defendants refusal or

  failure to correct errors on the Plaintiff’s consumer credit report violates the Colorado Consumer

  Protection Act because they (1) constitutes unfair and/or deceptive acts or practices; (2) are

  committed in the course of Defendants’ business; (3) have a pervasive public interest impact and

  have the potential to harm a substantial portion of the public; and (4) have caused injuries to the

  Plaintiff.




                                                    19
Case 1:20-cv-00451-SKC Document 41-3 Filed 02/15/21 USDC Colorado Page 20 of 25




  130.    As a CRA Defendants violate the CCPA in by failing to correct the overtly obvious errors

  multiple times.

  131.    Defendants’ violations of the CCPA were committed in bad faith, evident in their failure

  to correct multiple times.

  132.    ProMax exhibits further deceptive behavior by destroying evidence upon notification of

  Plaintiff’s claims.

  133.    ProMax’s unauthorized hard inquiries and subsequent reporting to credit bureaus is not

  only unfair and deceptive, but also a violation of the CCPA.

  134.    Plaintiff’s injuries were unavoidable as Defendants’ hold all the power and unilaterally

  control the information reported, the request to correct, and the ability to correct themselves.

  Plaintiff has suffered damages as a direct result of Defendant’s violations of the CCPA.

  135.    Defendants are liable to Plaintiff in amount to be determined at trial, including statutory

  treble damages. Plaintiff respectfully requests this Court award them the following damages

  pursuant to Colo. Rev. Stat. § 6-1-113(2)(a). The greater of:

                  (a)    the amount of actual damages sustained; or
                  (b)    five hundred dollars; or
                  (c)    three times the amount of actual damages sustained.


  136.    Plaintiff respectfully requests that this Court award her fees and costs associated with this

  action pursuant to Colo. Rev. Stat. § 6-1-113(2)(b) and enjoin Defendants from continued

  unlawful conduct alleged.




                                                    20
Case 1:20-cv-00451-SKC Document 41-3 Filed 02/15/21 USDC Colorado Page 21 of 25




                          CLAIM TWELVE:
         NEGLIGENT MISREPRENSATIONS IN TERMS AND CONDITIONS
                          OF CREDIT CHECK

  137.    As the administrators for the first used car dealer’s website, ProMax is responsible for

  false advertisements it allows.

  138.    ProMax has allowed and added advertisements on the first used car dealer’s website,

  which contain statements regarding credit transactions with used car dealer, which are in fact

  credit transactions with ProMax.

  139.    Defendants should have known the soft inquiry and pre-qualification advisements were

  false and/or misleading.

  140.    Advertisements posted online by ProMax for the first used car dealer’s website do not

  contain appropriate disclosures.

  141.    Misrepresentations were material to the Plaintiff.

  142.    Plaintiff’s reliance was justified.

  143.    Plaintiff’s reliance upon said representations has caused Plaintiff’s actual damages

  including but not limited to, loss of employment, housing, creditworthiness, in addition to inter

  alia emotional distress, physical injuries, mental anguish including humiliation and fear; all

  direct and foreseeable consequences to Defendants’ representations, actions, and/or inactions.



                               CLAIM THIRTEEN: Shane Born
                                    RESPONDEAT SUPERIOR
  144.    ProMax is responsible for the actions of its employees, agents, and/or subscribers.




                                                  21
Case 1:20-cv-00451-SKC Document 41-3 Filed 02/15/21 USDC Colorado Page 22 of 25




  145.    Shane Born is responsible for the actions of ProMax customers, employees and agents

  which use ProMax services as Chief Operating Officer and having been directly informed by

  Plaintiff of the damages sustained; including but not limited to used car dealerships.

  146.    Mr. Born intently remains inactive once aware of Plaintiff’s claims, refusing to take any

  corrective actions to make Plaintiff’s credit whole.

  147.    Defendants were negligent in their care and/or treatment of Plaintiff while acting within

  the course of their employment and/or authority.

  148.    As direct and proximate result of the negligent conduct of Defendants, Plaintiff has

  suffered injuries and damages as fully described above.


                             CLAIM FOURTEEN: Shane Born
                                          NEGLIGENCE
  149.    Shane Born owes consumers in general and Plaintiff in particular, general duties to use

  reasonable care, act commercially responsible with regards not only to their own personal

  conduct, but also to the Plaintiff’s consumer credit report and the information contained within

  said report.

  150.    Shane Born willfully, wantonly, and deliberately breached said duties in by failing to

  correct overt errs given multiple opportunities; failing to remove the unlawful hard inquiries.

  151.    Mr. Born’s willful negligence is displayed through the vast amount of opportunity he

  possessed to correct the unlawful hard inquiries since 2018.

  152.    The fact that the unlawful hard inquiries are still present, Mr. Born has failed multiple

  duties outlined in multiple statutes. There was and continues to be foreseeable and likely injuries

  to the Plaintiff that far outweighs any alleged social utilities in Defendants’ conduct.


                                                   22
Case 1:20-cv-00451-SKC Document 41-3 Filed 02/15/21 USDC Colorado Page 23 of 25




  153.      Defendants knew and/or reasonably expected the Plaintiff being adversely affected by the

  unlawful hard inquiries.

  154.      The Plaintiff’s reliance upon the representations of soft inquiry and pre-qualification was

  justified, as Plaintiff understood the definition of each.

  155.      Plaintiff is void of any burden guarding against harm as all injuries should have never

  happened or been perpetrated against Plaintiff.

  156.      A finding of a violation of the CCPA also constitutes negligence.

  157.      The reliance upon said representations has caused Plaintiff’s actual damages including

  but not limited to, loss of employment, housing, creditworthiness, in addition to inter alia

  emotional distress, physical injuries, mental anguish including humiliation and fear.

  158.      Plaintiff is entitled to damages proven through trial.

  159.      Plaintiff is entitled to her reasonable fees and costs.



                                E. REQUESTS FOR RELIEF cont


  WHEREFORE, Plaintiff requests jury trial on all claims so triable and judgment as follows:

     I.           Award actual damages to the Plaintiff in accordance with 15 U.S.C. §

            1681n(a)(1)(B);

     II.          Award punitive damages to Plaintiff in accordance with 15 U.S.C. § 1681n(a)(2);

     III.         Award Plaintiffs’ costs and attorney’s fees in accordance with 15 U.S.C. §§

            1681n(a)(3) and 1681o(a)(2); C.R.S. § 5-5-206 and C.R.S. § 4-5-111(c)(d)(e)(f);




                                                      23
Case 1:20-cv-00451-SKC Document 41-3 Filed 02/15/21 USDC Colorado Page 24 of 25




     IV.         All statutory damages awarded to the Plaintiff, calculated separately for each

           statutory violation. Plaintiff believes statutory damages be counted at the maximum,

           $1,000 per violation for Defendants’ willfully negligent conduct, that each violation be

           tallied by the day, and per credit report affected. Plaintiff’s credit report has been

           adversely affected each and every day following March 17, 2018, up to and through the

           known hard inquiry maximum time period allowed on Plaintiff’s credit report, of two

           calendar years, March 17, 2020; up to and through each and every day the Plaintiff has

           and will likely suffer in pain as a direct result of Defendants’ conduct, the rest of her life,

           a minimum of forty years, 14,600 days. Thus, Plaintiff is entitled to

           $1,000x4x730x14,600 = $42,632,000,000.

     V.          Maximum pre and post judgement interest awarded on all allowable damages for

           the Plaintiff;

     VI.         Special damages awarded to the Plaintiff;

     VII.          In accordance with C.R.S.§ 5-6-113, protect consumers nationwide by Declaring

           ProMax’s practices unconscionable, ordering injunctive relief; requiring ProMax’s strict

           compliance of all Acts violated herein.

     VIII.                  Declare Defendants to have breached the terms and conditions of the

           contracts and provide injunctive relief on behalf of Plaintiff who so desires:

               a. Defendant will send a letter to each CRA;

                        i. Experian; &

                       ii. Transunion; &

                      iii. Equifax; &

                      iv. SageStream; &



                                                     24
Case 1:20-cv-00451-SKC Document 41-3 Filed 02/15/21 USDC Colorado Page 25 of 25




                      v. Innovis;

              b. Within letter, request each hard inquiry that was authorized illegally be removed;

              c. A copy of each correspondence will be sent to the Plaintiff;

              d. Defendants will repeat efforts, until all fraudulent hard inquiries are removed

                  from all consumer credit reports;

     IX.          Award actual damages to Plaintiff, due to multiple breaches of contract;

     X.           Award actual and consequential damages liberally pursuant to C.R.S. §§ 6-1-101

           et. seq., 6-1-113, C.R.S. § 4-1-305 and C.R.S. § 4-2-715;

     XI. Disgorgement of the ill-gotten gains received from the bad-faith, fraudulent behavior;

     XII.         All statutory damages according to proof;

     XIII.        In accordance with C.R.S. § 5-5-109(6) provide damages in addition to all other

           remedies to the Plaintiff;

     XIV.         Award treble damages in accordance with C.R.S § 6-1-113(2)(a)(III), (2.3);

     XV.          Other relief the Court finds appropriate awarded to the Plaintiff.




                                                   25
